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Plaintiff, ` ` " '“‘;MPH’S
v_ NO. 03-2220 B/A
AMERICAN HoNDA FINANCE

CORPORATION and BRYCE FREEMAN,

Defendants.

 

ORDER DENYING PLAINTIFF'S MOTION TO ALTER OR AMEND IUDGMENT

 

Before the Court is the motion of the Plaintiff, Daniel T. Robinson, to alter or amend the
judgment entered by the Court in favor of the Defendants, American Honda Finance Corporation and
Bryce Freeman, an authorized representative of the corporate defendant, (collectively, "Honda"),
pursuant to Rule 59(e) ofthe Federal Rules of Civil Procedure. The motion is ripe for disposition even
though the Defendants have filed no response thereto, as the time for such response has expired

Rule 59 permits the filing of motions to alter or amend a judgment within ten days after entry

of judgment.

The purpose of a motion to alter or amend judgment under Fed. R. Civ. P. 59(e) is to
have the court reconsider matters properly encompassed in a decision on the merits.
This rule gives the district court the power to rectify its own mistakes . . . Generally,
three situations justify a district court altering or amending its judgment (l) to
accommodate an intervening change in controlling law; (2) to account for new evidence
not available at tria]; or (3) to correct a clear error of law or to prevent a manifest
injustice It is not designed to give an unhappy litigant an opportunity to relitigate
matters already decided, nor is it a substitute for appeal.

Sherwood v. Roval Ins. Co. ofAm., 290 F.Supp.2d 856, 858 (N.D. Ohio 2003) (intemal citations and

quotation marks omitted).

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The Plaintiff brought this action under the Federal Credit Reporting Act, codified at 15 U.S.C.
§ 1692, e_t §_e_g; (“FCRA"), alleging that Honda unlawfully furnished information relative to Robinson
to a consumer credit reporting agency which the Defendants knew or should have known was
inaccuratel During the pendency of this litigation, the Court highlighted to the Plaintiff and his counsel
issues suggesting that Robinson would not be able to maintain an action under the statute based on the
facts of this case, and instructed the parties to Submit briefs. On August 20, 2004, the Plaintiff
submitted to the Court a letter setting forth his position and the Defendants filed a motion to dismiss
and for summary judgment Upon consideration of all of the parties' filings, the Court entered an order
on March 31, 2005 granting the motion for summary judgment and dismissing this matter in its entirety

ln the instant motion, the Plaintiff avers that he Was unaware of the Defendants' filing, even
though the dispositive motion contained a certificate of Service reflecting that a copy thereof was mailed
to Plaintiffs counsel, and that the filing was made after the passing of the dispositive motion deadline
The remainder of the Rule 59(e) motion is a re»argument of the matters addressed by the Court in its
March 31 order. As the Plaintiff has not argued that there exists an "intervening change in controlling
law," "new evidence not available at trial," "a clear error of law“ or a "rnanifest injustice," the Court has
no basis upon which relief under Rule 59(e) may be granted. Accordingly, the motion is DENIED.

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/M

J. D LNIEL BREEN \
uN '"ED srArEs nisrRicT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 40 in

case 2:03-CV-02220 was distributed by faX, mail, or direct printing on

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Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

l\/lemphis7 TN 38120

John W. Campbell

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

